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 1                                                                   The Honorable David W. Christel

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 7                              UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     DONALD E. MORISKY,                                  NO. 2:21-CV-01301-DWC
 9
                      Plaintiff,
10                                                       MOTION AND DECLARATION FOR
             v.                                          LEAVE TO WITHDRAW
11
     MMAS RESEARCH, LLC, a Washington limited
12   liability company, STEVEN TRUBOW, an
     individual, POLINA FEILBACH, an individual,
13   RODNEY WATKINS, an individual, DUSTIN
     MACHI, an individual, MMAS Research Italy
14   S.R,L. an Italian company, and MMAS Research
     France, SAS a French company,
15

16                    Defendants.

17
     TO:              The Clerk of the Court,
18
     AND TO:          Defendants, Steven Trubow and MMAS RESEARCH, LLC,
19
     AND TO:          Plaintiff, DONALD E. MORISKY.
20

21
                                                MOTION
22

23           Counsel for Defendants hereby appear and request the Court’s permission to withdraw as

24   counsel of record for the Defendants herein. This Motion is based on the Declaration of Counsel,
25
     Mark L. Lorbiecki, as set forth below, and the Courts records herein.
       MOTION AND DECLARATION FOR LEAVE                                Williams, Kastner & Gibbs PLLC
       TO WITHDRAW - 1                                                 601 Union Street, Suite 4100
       (2:21-CV-01301-DWC)                                             Seattle, Washington 98101-2380
                                                                       (206) 628-6600


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 1

 2   Dated this 9th day of May, 2022.
                                                    s/ Mark L. Lorbiecki
 3                                                  s/ Theresa Rava
                                                    s/ Tyler Hermsen
 4
                                                    Mark L. Lorbiecki, WSBA #16796
 5                                                  Theresa Rava, WSBA # 53159
                                                    Tyler Hermsen, WSBA # 43665
 6                                                  WILLIAMS, KASTNER & GIBBS PLLC
                                                    601 Union Street, Suite 4100
 7                                                  Seattle, WA 98101-2380
 8                                                  Telephone: (206) 628-6600
                                                    Email: Mlorbiecki@williamskastner.com
 9
                                                    Attorneys for Defendants
10
            DECLARATION OF COUNSEL FOR DEFENDANTS MARK L. LORBIECKI
11

12
     1.        My name is Mark L. Lorbiecki and I am duly licensed to practice law in the state of
13
     Washington and am admitted to the U.S. DISTRICT COURT FOR THE WESTERN DISTRICT
14
     OF WASHINGTON.
15
     2.        When originally retained, our client, Steven Trubow, personally, and as Managing
16

17   Member of MMAS RESEARCH, LLC, agreed that the purpose of the engagement was to present

18   a CR 12(b)(6) motion for dismissal of this case based upon the earlier dismissal with prejudice
19   and a Settlement Agreement. The Retainer Agreement had left the question of further
20
     representation to be subject to a further agreement between the parties. The parties have been
21
     unable to reach an agreement as to representation beyond that for the CR 12(b)(6) motion and its
22
     presentation. Mr. Trubow has indicated that he intends to seek other counsel to represent him
23

24   herein.

25
          MOTION AND DECLARATION FOR LEAVE                               Williams, Kastner & Gibbs PLLC
          TO WITHDRAW - 2                                                601 Union Street, Suite 4100
          (2:21-CV-01301-DWC)                                            Seattle, Washington 98101-2380
                                                                         (206) 628-6600


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 1   3.      I have presented this declaration to Mr. Trubow and he concurs that we have not been able

 2   to agree on terms for the further representation. Mr. Trubow’s current mailing address is 1601
 3
     Spring Hill Rd, Petaluma CA 94952, and all pleadings in this matter should be directed to him at
 4
     said address.
 5
     3.      Consequently, I am requesting leave of the Court to withdraw effective May 9, 2022, if
 6
     possible. Pursuant to W. D. Wash. Local Civ. Rule 83.2 (b)(1) I am including certification below
 7

 8   that the Motion herein was served on the client and opposing counsel.

 9   4.      Therefore, I am requesting leave of the Court to withdraw pursuant to W. D. Wash. Local
10   Civ. Rule 83.2. We respectfully request that said Order of Leave for Withdrawal be effective
11
     immediately on May 9, 2022 or as soon thereafter as possible.
12
     4.      All further notices, pleadings and correspondence should be directed to Mr. Trubow as set
13
     out above.
14

15   I DECLARE UNDER THE PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND
     CORRECT TO THE BEST OF MY KNOWLEDGE.
16

17   Dated this 9th day of May, 2022.
                                                  s/ Mark L. Lorbiecki
18                                                Mark L. Lorbiecki, WSBA #16796
19                                                WILLIAMS, KASTNER & GIBBS PLLC
                                                  601 Union Street, Suite 4100
20                                                Seattle, WA 98101-2380
                                                  Telephone: (206) 628-6600
21                                                Email: Mlorbiecki@williamskastner.com
22

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          MOTION AND DECLARATION FOR LEAVE                             Williams, Kastner & Gibbs PLLC
          TO WITHDRAW - 3                                              601 Union Street, Suite 4100
          (2:21-CV-01301-DWC)                                          Seattle, Washington 98101-2380
                                                                       (206) 628-6600


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 1
                              CERTIFICATE OF FILING AND SERVICE
 2
             I hereby certify that on the date below, I electronically filed the foregoing with the Clerk
 3
     of the Court using the CM/ECF system which will send notification of such filing to those
 4
     registered with CM/ECF. I also certify that I have sent via email a copy of this Motion and
 5
     Declaration to Defendants at trubow1@gmail.com.
 6
             Dated this 9th day of May, 2022.
 7

 8                                                         _/s/Julie Larm-Bazzill__________
                                                           Julie Larm-Bazzill, Legal Assistant
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       MOTION AND DECLARATION FOR LEAVE                                  Williams, Kastner & Gibbs PLLC
       TO WITHDRAW - 4                                                   601 Union Street, Suite 4100
       (2:21-CV-01301-DWC)                                               Seattle, Washington 98101-2380
                                                                         (206) 628-6600


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